Case 08-21389 Doc 1

B 1 (Official Form 1) (12/07)
United States Bankruptcy Court

District of Maryland

Filed 09/05/08 Page 1 of 9

 

Name of Debtor (if individual, enter Last, First, Middle):
Luminent Mortgage Capital, Inc.

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Social-Security/Complete EIN or other Tax-I.D. No. (if more than

one, state all):
06-169483

Last four digits of Social-Security/Complete EIN or other Tax-I.D. No. (if more
than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):
1515 Market Street, Suite 2000
Philadelphia, PA

zie CODE 19102 ]

Street Address of Joint Debtor (No. and Street, City, and State):

IP CODE

 

County of Residence or of the Principal Place of Business:
Philadelphia

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):

zip CODE |

Mailing Address of Joint Debtor (if different from street address):

 

ir CODE ]

 

Location of Principal Assets of Business Debtor (if different from street address above):

ip CODE ]

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
(1 Health Care Business 0 sChapter 7 (Chapter 15 Petition for
(1 Individual (includes Joint Debtors) oO Single Asset Real Estate as defined in Os Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) {4 Chapter 11 Main Proceeding
{4 Corporation (includes LLC and LLP) 0] Railroad CJ Chapter 12 (1s Chapter 15 Petition for
(0 sPartnership D0 © Stockbroker 1 Chapter 13 Recognition of a Foreign
C1 Other (If debtor is not one of the above entities, | [] | Commodity Broker Nonmain Proceeding
check this box and state type of entity below.) 10 ~s Clearing Bank
[4 Other Nature of Debts
(Check one box.)
Tax-Exempt Entity
(Check box, if applicable.) 1 Debts are primarily consumer [4 Debts are primarily
debts, defined in 11 U.S.C. business debts.
(1 _ Debtor is a tax-exempt organization § 101(8) as “incurred by an
under Title 26 of the United States individual primarily fora
Code (the Internal Revenue Code). personal, family, or house-
hold purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:
(4 Full Filing Fee attached. (1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
C1 éFiling Fee to be paid in installments (applicable to individuals only). Must attach | [4 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A. Check if:
[1 _sDebtor’s aggregate noncontingent liquidated debts (excluding debts owed to
(J sFiling Fee waiver requested (applicable to chapter 7 individuals only). Must insiders or affiliates) are less than $2,190,000.
attach signed application for the court’s consideration. See Official Form3B. = | --------- rer r errr tr rrr rere t rrr
Check all applicable boxes:
(1 Aplan is being filed with this petition.
(1 sAcceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information THIS SPACE IS FOR
COURT USE ONLY
{wf Debtor estimates that funds will be available for distribution to unsecured creditors.
DO Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
Estimated Number of Creditors
O O O oO O O oO
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
O O wy O 0D O
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million
Estimated Liabilities
O O oO Oo O O O
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million

 

 

 
Case 08-21389 Doc1 Filed 09/05/08 Page 2 of 9

 

 

 

 

 

 

 

 

 

B 1 (Official Form 1) (12/07) Page 2
Voluntary Petition Name of Debtor(s): .
(This page must be completed and filed in every case.) Luminent Mortgage Capital, Inc.
All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Case Number: Date Filed:
Where Filed: - None -
Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
See Attachment A
District: District of Maryland Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and whose debts are primarily consumer debts.)
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attorney for the petitioner named in the foregoing petition, declare that I

have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. I further certify that I have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

[1 __—_ Exhibit A is attached and made a part of this petition. xX

 

 

Signature of Attorney for Debtor(s) (Date)

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

(J Yes, and Exhibit C is attached and made a part of this petition.

A No.

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
(1 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

OO =Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)
% Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

“A There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
Oo Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or

has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

| Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)
DO Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
oO Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

oO Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 

 
Case 08-21389 Doc 1

Filed 09/05/08 Page 3of9

 

B 1 (Official Form) 1 (12/07)

Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):
Luminent Mortgage Capital, Inc.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

{If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

{If no attorney represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

x

 

Signature of Debtor

 

Signature of Joint Debtor

 

Telephone Number (if not represented by attorney)

 

Date

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only one box.)

(I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

(J Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

(Signature of Foreign Representative)

 

(Printed Name of Foreign Representative)

 

Date

 

Signature of Attorney*

xX /s/ Joel 1. Sher
Signature of Attorney for Debtor(s)
Joel |. Sher
Printed Name of Attorney for Debtor(s)
Shapiro Sher Guinot & Sandler
Firm Name
36 South Charles Street
Address Suite 2000
Baltimore, Maryland 21201

 

 

 

 

 

(410) 385-0202

Telephone Number
9/5/2008

Date

 

 

*In a case in which § 707(b)(4\(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

4 /s/ Zachary H Pashel

Signature of Authorized Individual
Zachary H Pashel

Printed Name of Authorized Individual
President and Chief Executive Officer

Title of Authorized Individual
9/4/2008

Date

 

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1)1 am a bankruptcy petition preparer as
defined in 11 U.S.C. § 110; (2) 1 prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if mules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

Address

 

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

 

 
 

Case 08-21389 Doc1 Filed 09/05/08 Page 4of9

B 1A (Official Form 1, Exhibit A) (9/97)

i j I iodi ts (e.2., forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
dein [3 9 eh of of Leste, Esha Ae/oy 1934 and is 12) Stine relief under chapter 11 of the Bankruptcy Code, this
Exhibit “A” shall be completed and attached to the petition. ]

UNITED STATES BANKRUPTCY COURT

District of Maryland

Luminent Mortgage Capital, Inc.

In re > Case No.

 

Debtor

Chapter 11

EXHIBIT “A” TO VOLUNTARY PETITION
1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is 9090-31828

2. The following financial data is the latest available information and refers to the debtor’s condition on

 

 

 

 

 

 

July 31, 2008 .

a. Total assets $ 13, 365,441.00

b. Total debts (including debts listed in 2.c., below) $ ___486,084,443.00

c. Debt securities held by more than 500 holders: Approximate
number o

olders:

secured O unsecured 0 subordinated 0 $

secured O unsecured 0 subordinated 0 $

secured O unsecured 0 subordinated 0 $

secured © unsecured 0 subordinated 0 $

secured O unsecured O subordinated 0 $

d. Number of shares of preferred stock

e. Number of shares common stock 46,024,339 409

 

Comments. if anv:

 

3. Brief descrivtion of debtor’s business:

Luminent Mortgage Capital, Inc. is a real estate investment trust which historically invested in mortgage loans and mortgage-backed
securities. Currently, the company is marketing its investment management services to others for fee income.

4, List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or

more of the voting securities of debtor:
LSV Asset Management

 
 

Case 08-21389 Doc1 Filed 09/05/08 Page 5of9

ATTACHMENT A
Pending Bankruptcy Case Filed by any Affiliate of this Debtor

On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under chapter 11 of Title 11 of the United
States Code in the United States Bankruptcy Court for the District of Maryland (the “Court”). A
motion has been filed or shortly will be filed with the Court requesting that the chapter 11 cases
of these entities be consolidated for procedural purposes only and jointly administered.

 

 

 

 

 

 

 

 

 

 

ENTITY NAME 5 JURISDICTION OF
DOMICILE
Luminent Mortgage Capital, Inc. XX-XXXXXXX Maryland
Luminent Capital Management, Inc. XX-XXXXXXX Delaware
Maia Mortgage Finance Statutory Trust XX-XXXXXXX Maryland
Mercury Mortgage Finance Statutory Trust XX-XXXXXXX Maryland
Minerva CDO Delaware SPV LLC XX-XXXXXXX Delaware
Minerva Mortgage Finance Corporation XX-XXXXXXX Maryland
OT Realty Trust XX-XXXXXXX Maryland
Pantheon Holding Company, Inc. XX-XXXXXXX Delaware
Proserpine, LLC 20-3 163919 Pennsylvania
Saturn Portfolio Management, Inc. XX-XXXXXXX Delaware

 

 

 

 

 

 
Case 08-21389 Doc1 Filed 09/05/08 Page6éof9

LUMINENT MORTGAGE CAPITAL, INC.

UNANIMOUS WRITTEN CONSENT OF DIRECTORS IN LIEU OF MEETING

The undersigned being all of the members of the Board of Directors (the “Board”) of
LUMINENT MORTGAGE CAPITAL, INC. (the “Company”), a Maryland corporation, acting
by unanimous written consent in accordance with the Bylaws of the Company and applicable
law, waive notice of time, place and purpose of a meeting of the Board and hereby consent and
agree to the following actions with the same force and effect as if approved by unanimous vote at
a duly constituted meeting of the Board and direct that this document be delivered to the
Company for inclusion in the minutes or filing with the records of the Company:

WHEREAS, the Board has considered the Company’s business activities and proposed
restructuring alternatives;

NOW, THEREFORE, BE IT RESOLVED, that in the good faith business
judgment of the Board, it is in the best interest of the Company, its creditors, stakeholders
and other interested parties, that a voluntary petition for relief under chapter 11 of Title
11 of the United States Code (the “Bankruptcy Code”), be filed in the United States
Bankruptcy Court for the District of Maryland (the “Bankruptcy Court”); and

BE IT RESOLVED FURTHER, that the officers of the Company or any one of
them (the “Officers”) be, and each hereby is, authorized, empowered and directed to
execute and verify on behalf of and in the name of the Company, a voluntary petition for
relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court in such form and
at such time as the Officer executing said petition on behalf of the Company shall
determine; and

BE IT RESOLVED FURTHER, that the Officers, or any one of them be, and
each hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company, to execute, verify and/or file, or cause to be filed and or executed or verified
(or direct others to do so on their behalf as provided herein) all necessary documents,
including, without limitation, a plan of reorganization and disclosure statement, and all
petitions, affidavits, schedules, motions, lists, applications, pleadings, and other papers,
and in that connection to employ and retain all assistance by legal counsel or other
professionals and to take any and all actions which they deem necessary and proper in
connection with the chapter 11 case contemplated hereby, with a view to the successful
prosecution of such case; and

BE IT RESOLVED FURTHER, that the Company shall be and hereby is
authorized, empowered and directed to employ, on behalf of the Company, the law firm
of Hunton & Williams LLP under a special retainer as co-counsel to the Company and in
other related matters on such terms and conditions as the Officers of the Company shall
approve; and

BE IT RESOLVED FURTHER, that the Company shall be and hereby is
authorized, empowered and directed to employ, on behalf of the Company, the law firm
of Shapiro, Sher, Guinot, & Sandler under a special retainer as co-counsel to the

 
Case 08-21389 Doc1 Filed 09/05/08 Page/7 of 9

Company and in other related matters on such terms and conditions of the Officers of the
Company shall approve; and

BE IT RESOLVED FURTHER, that all acts lawfully done or actions lawfully
taken by any Officer to seek relief on behalf of the Company under chapter 11 of the
Bankruptcy Code or in connection with the chapter 11 case, or matters related thereto, be,
and hereby are, adopted, ratified, confirmed and approved in all respects as the acts and
deeds of the Company; and

BE IT RESOLVED FURTHER, that the Company be, and hereby is, authorized
to enter into, execute and deliver the Post-Petition Loan and Security Agreement (the
“Arco DIP Credit Agreement”) by and among Company, the subsidiaries of the Company
signatory thereto as Borrowers, and Arco Capital Corporation, Ltd., providing for a credit
facility of up to $3,242,000, in substantially the form of the draft Arco DIP Credit
Agreement dated as of September 2, 2008, with such changes as are deemed necessary,
appropriate or desirable by the Officer executing the same, the execution thereof by such
Officer to be conclusive evidence of such approval and determination; and

BE IT RESOLVED FURTHER, that any Officer is, and each of them individually
hereby are, authorized, in the name and on behalf of the Company, to execute and deliver
the Arco DIP Credit Agreement and all notes, guaranties, security agreements, pledge
agreements, instruments or other documents or agreements related thereto or required
thereby; all containing such terms and conditions, setting forth such rights and
obligations and otherwise addressing or dealing with such subjects or matters determined
to be necessary, appropriate or desirable by the Officer executing the same, the execution
thereof by such Officer to be conclusive evidence of such determination, and to do all
such other acts or deeds as are or as are deemed by such Officer to be necessary,
appropriate or desirable to effectuate the intent of, or matters reasonably contemplated or
implied by, this resolution and the foregoing resolutions; and

BE IT RESOLVED FURTHER, that the Company is authorized to perform fully
its obligations under the Arco DIP Credit Agreement, and any such other agreements or
amendments related thereto and to engage without limitation in such other transactions,
arrangements or activities (collectively, the “Activities”) as are reasonably related or
incident to or which will serve to facilitate or enhance for the benefit of the Company the
transactions contemplated by these resolutions, including without limitation any
modification, extension or expansion (collectively, the “Changes’’) of any of the
Activities or of any other transactions, arrangements or activities resulting from any of
the Changes and to enter into such other agreements or understandings as are necessary,
appropriate or desirable to effectuate the intent of, or matters reasonably contemplated or
implied by, this resolution and each of the foregoing resolutions; and

BE IT RESOLVED FURTHER, that the effective date of the foregoing
resolutions shall be September 4, 2008.

This Unanimous Written Consent of Directors in Lieu of Meeting may be executed in any
number of separate counterparts which, when taken together, shall constitute but one and the
same document.

2

 
Case 08-21389 Doc1 Filed 09/05/08 Page 8 of 9

IN WITNESS WHEREOPF, the undersigned has executed this Unanimous Written
Consent of Directors in Lieu of Meeting as of September 4, 2008.

/s/

/s/

 

Zachary H Pashel

/s/

 

Robert B. Goldstein

/s/

 

Bruce A. Miller

/s/

 

Frank L. Raiter

 

Joseph E. Whitters

 
 

Case 08-21389 Doc1 Filed 09/05/08 Page 9of9

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND
Baltimore Division

 

Case No.: 08-
(Chapter 11)

In re:

)

)

LUMINENT MORTGAGE CAPITAL, INC., )
)

Debtor. )

)

 

CORPORATE OWNERSHIP STATEMENT

Pursuant to Rule 7007.1 of the Federal Rules of Bankruptcy Procedure, Luminent
Mortgage Capital, Inc. certifies that it is a publicly traded corporation whose shares are traded in
the over-the-counter market. No corporation owns ten percent or more of the shares of Luminent
Mortgage Capital, Inc.

Luminent Mortgage Capital, Inc.

/s/ Zachary H Pashel
Name: Zachary H Pashel
Title: President and Chief Executive Officer

 
